     Case 2:09-cv-07110-DOC-RC Document 8 Filed 11/30/09 Page 1 of 1 Page ID #:167



 1

 2

 3

 4

 5

 6

 7
                               UNITED STATES DISTRICT COURT
 8
                              CENTRAL DISTRICT OF CALIFORNIA
 9

10

11   IN RE RONNIE EDWARD JOHNSON, JR.,  ) Case No. CV 09-7110-DOC(RC)
                                        )
12                  Petitioner          )
                                        ) JUDGMENT
13                                      )
                                        )
14   ___________________________________)

15

16             IT IS ADJUDGED that the action is dismissed for lack of personal

17   jurisdiction.

18

19   DATED:        November 30, 2009

20

21                                            DAVID O. CARTER
                                        UNITED STATES DISTRICT JUDGE
22

23

24

25

26
     R&R\09-7110.jud
27
     11/2/09

28
